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                          UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA


Debbie J. Griefenhagen,                         Civil File No. 12-CV-1182 DSD/SER

                    Plaintiff,
v.

Sergeant Mike Duzan, individually and in his
official capacity; Chief of Police Scott
M. Knight, individually, and in his official
capacity; and City of Chaska,

                    Defendants.


                JOINT PROPOSED JURY INSTRUCTIONS
________________________________________________________________________

The parties submit the attached proposed jury instructions. Any instructions the parties
do not agree on are set forth with Plaintiff’s proposals in italics and Defendants’
proposals in bold.

                                                IVERSON REUVERS CONDON

Dated: January 21, 2014                         By     s/Stephanie A. Angolkar
                                                   Stephanie A. Angolkar, #388336
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Dated: January 21, 2014                         UDOIBOK, TUPA & HUSSEY, PLLP

                                                By     s/Kenneth U. Udoibok
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                                                Attorney for Plaintiff
                                                400 East Fourth Street, #310M
                                                Minneapolis, MN 55415
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                                   INSTRUCTION # 1

       Ladies and Gentlemen: I am now going to give you some instructions about this

case and about your duties as jurors. At the end of the trial I will give you more

instructions. I may also give you instructions during the trial. All instructions–those I

give you now and those I give you later, whether they are in writing or given to you

orally–are equally important and you must follow them all.

       You must leave your cell phone, PDA, smart phone, iPhone, tablet computer, and

any other wireless communication devices in the jury room during the trial and may only

use them during breaks. However, you are not allowed to have those devices in the jury

room during your deliberations. You may give them to the bailiff for safekeeping just

before you start to deliberate. They will be returned to you when your deliberations are

complete.

       This is a civil case brought by the Plaintiff Debbie Griefenhagen against Sergeant

Mike Duzan. Debbie Griefenhagen alleges Mike Duzan used excessive force against her

resulting in injury. Mike Duzan denies this allegation. It will be your duty to decide

from the evidence whether Debbie Griefenhagen is entitled to a verdict against Mike

Duzan.

       Your duty is to decide what the facts are from the evidence. You are allowed to

consider the evidence in light of your own observations and experiences. After you have

decided what the facts are, you will have to apply those facts to the law, which I give you

in these and in my other instructions. That is how you will reach your verdict. Only you
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will decide what the facts are. However, you must follow my instructions, whether you

agree with them or not. You have taken an oath to follow the law that I give you in my

instructions.

       In deciding what the facts are, you may have to decide what testimony you believe

and what testimony you do not believe. You may believe all of what a witness says, or

only part of it, or none of it.

       In deciding what testimony to believe, consider the witnesses’ intelligence, their

opportunity to have seen or heard the things they testify about, their memories, any

reasons they might have to testify a certain way, how they act while testifying, whether

they said something different at another time, whether their testimony is generally

reasonable, and how consistent their testimony is with other evidence that you believe.

       Do not let sympathy, or your own likes or dislikes, influence you. The law

requires you to come to a just verdict based only on the evidence, your common sense,

and the law that I give you in my instructions, and nothing else.

       Nothing I say or do during this trial is meant to suggest what I think of the

evidence or what I think your verdict should be.




8th Cir. Civil Jury Instr. § 1.03 (2013)
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                                    INSTRUCTION # 2

       When I use the word “evidence,” I mean the testimony of witnesses; documents

and other things received as exhibits; facts that I tell you the parties have agreed are true;

and any other facts that I tell you to accept as true.

       Some things are not evidence. I will tell you now what is not evidence:

       1.     Lawyers’ statements, arguments, questions and comments are not evidence.

       2.     Documents or other things that might be in court or talked about, but that I

              do not receive as exhibits, are not evidence.

       3.     Objections are not evidence. Lawyers have a right – and sometimes a duty

              – to object when they believe something should not be a part of the trial.

              Do not be influenced one way or the other by objections. If I sustain a

              lawyer’s objection to a question or exhibit, that means the law does not

              allow you to consider that information. When that happens, you have to

              ignore the question or the exhibit, and you must not try to guess what the

              information might have been.

       4.     Testimony and exhibits that I strike from the record, or tell you to

              disregard, are not evidence, and you must not consider them.

       5.     Anything you see or hear about this case outside the courtroom is not

              evidence, and you must not consider it unless I specifically tell you

              otherwise.


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       Also, I might tell you that you can consider a piece of evidence for one purpose

only, and not for any other purpose. If that happens, I will tell you what purposes you

can consider the evidence for and what you are not allowed to consider it for. You need

to pay close attention when I give an instruction about evidence that you can consider for

only certain purposes, because you might not have that instruction in writing later in the

jury room.

       Finally, some of you may have heard the terms “direct evidence” and

“circumstantial evidence.” You are instructed that you should not be concerned with

those terms, since the law makes no distinction between the weight to be given to direct

and circumstantial evidence.




8th Cir. Civil Jury Instr. § 1.04 (2013)
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                                  INSTRUCTION # 3

       During the trial, I will sometimes need to talk privately with the lawyers. I may

talk with them here at the bench while you are in the courtroom, or I may call a recess

and let you leave the courtroom while I talk to the lawyers. Either way, please

understand that while you are waiting, we are working. We have these conferences to

make sure that the trial is proceeding according to the law and to avoid confusion or

mistakes. We will do what we can to limit the number of these conferences and to keep

them as short as possible.




8th Cir. Civil Jury Instr. § 1.05 (2013)
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                                   INSTRUCTION # 4

       At the end of the trial, you will have to make your decision based on what you

recall of the evidence. You will not have a written copy of the testimony to refer to.

Because of this, you have to pay close attention to the testimony and other evidence as it

is presented here in the courtroom.

       If you wish, however, you may take notes to help you remember what witnesses

said. If you do take notes, do not show them to anyone until you and your fellow jurors

go to the jury room to decide the case after you have heard and seen all of the evidence.

And do not let notes distract you from paying close attention to the evidence as it is

presented. The Clerk will provide each of you with a pad of paper and a pen or pencil.

At each recess, leave them in the courtroom.

       When you leave at night, your notes will be locked up and will not be read by

anyone.




8th Cir. Civil Jury Instr. § 1.06 (2013)
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                                    INSTRUCTION # 5

       Jurors, to make sure this trial is fair to both parties you must follow these rules:

       First, do not talk or communicate among yourselves about this case, or about

anyone involved with it, until the end of the case when you go to the jury room to

consider your verdict.

       Second, do not talk with anyone else about this case, or about anyone involved

with it, until the trial has ended and you have been discharged as jurors.

       Third, when you are outside the courtroom, do not let anyone tell you anything

about the case, or about anyone involved with it until the trial has ended and your verdict

has been accepted by me. If someone tries to talk to you about the case during the trial,

please report it to the bailiff or other court personnel.

       Fourth, during the trial, do not talk with or speak to any of the parties, lawyers, or

witnesses in this case–not even to pass the time of day. It is important not only that you

do justice in this case, but also that you act accordingly. If a person from one side of the

lawsuit sees you talking to a person from the other side–even if it is just about the

weather–that might raise a suspicion about your fairness. So, when the lawyers, parties

and witnesses do not speak to you in the halls, on the elevator or the like, you must

understand that they are not being rude. They know they are not supposed to talk to you

while the trial is going on, and they are just following the rules.

       Fifth, you may need to tell your family, close friends, and other people that you

are a part of this trial. You can tell them when you have to be in court, and you can warn
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them not to ask you about this case, tell you anything they know or think they know

about this case, or talk about this case in front of you. But, you must not communicate

with anyone or post information about the parties, witnesses, participants, claims,

charges, evidence, or anything else related to this case. You must not tell anyone

anything about the jury’s deliberations in this case until after I accept your verdict or until

I give you specific permission to do so. If you talk about the case with someone besides

the other jurors during deliberations, it looks as if you might already have decided the

case or that you might be influenced in your verdict by their opinions. That would not be

fair to the parties, and it might result in the verdict being thrown out and the case having

to be tried over again. During the trial, while you are in the courthouse and after you

leave for the day, do not give any information to anyone, by any means, about this case.

For example, do not talk face-to-face or use any electronic device, such as a telephone,

cell phone, smart phone, Blackberry, PDA, computer, or computer-like device. Likewise,

do not use the Internet or any Internet service; do not text or send instant messages; do

not go on an Internet chat room, blog, or other websites such as Facebook, MySpace,

YouTube, or Twitter. In other words, do not communicate with anyone about this case –

except for the other jurors during deliberations – until I accept your verdict.

       Sixth, do not do any research – on the Internet, in libraries, newspapers, or

otherwise – and do not investigate this case on your own. Do not visit or view any place

discussed in this case, and do not use the Internet or other means to search for or view

any place discussed in the testimony. Also, do not look up any information about this
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case, the law, or the people involved, including the parties, the witnesses, the lawyers, or

the court.

       Seventh, do not read any news stories or Internet articles or blogs that are about the

case, or about anyone involved with it. Do not listen to any radio or television reports

about the case or about anyone involved with it. In fact, until the trial is over I suggest

that you avoid reading any newspapers or news journals at all, and avoid listening to any

TV, radio or Internet newscasts at all. I do not know whether there will be news reports

of this case, but if there are, you might accidentally find yourself reading or listening to

something about the case. If you want, you can have someone clip out any stories and set

them aside to give you after the trial is over. I can assure you, however, that by the time

you have heard the evidence in this case, you will know what you need to decide it.

       The parties have a right to have you decide their case based only on evidence

admitted here in court. If you research, investigate, or experiment on your own, or get

information from other sources, your verdict might be influenced by inaccurate,

incomplete, or misleading information. Witnesses here in court take an oath to tell the

truth, and the accuracy of their testimony is tested through cross-examination. All of the

parties are entitled to a fair trial and an impartial jury, and you have to conduct

yourselves in a way that assures the integrity of the trial process. If you decide a case

based on information not admitted in court, you will deny the parties a fair trial. You will

deny them justice. Remember, you have taken an oath to follow the rules, and you must


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do so. If you do not, the case might have to be retried, and you could be held in contempt

of court and possibly punished.

      Eighth, do not make up your mind during the trial about what the verdict should

be. Keep an open mind until after you and your fellow jurors have discussed all the

evidence.




8th Cir. Civil Jury Instr. § 1.08 (2013)
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                                  INSTRUCTION # 6

       The trial will proceed in the following manner:

       First, the plaintiff’s lawyer may make an opening statement. Next, the defendants’

lawyer may make an opening statement. An opening statement is not evidence, but it is a

summary of the evidence the lawyers expect you will see and hear during the trial.

       After opening statements, the plaintiff will then present evidence. The defendants’

lawyer will have a chance to cross-examine the plaintiff’s witnesses. After the plaintiff

has finished presenting her case, the defendants may present evidence, and the plaintiff’s

lawyer will have a chance to cross-examine their witnesses.

       After you have seen and heard all of the evidence from both sides, the lawyers will

make closing arguments that summarize and interpret the evidence. Just as with opening

statements, closing arguments are not evidence. After the closing arguments, I will

instruct you further on the law, and you will go to the jury room to deliberate and decide

on your verdict.




8th Cir. Civil Jury Instr. § 1.09 (2013)
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                                   INSTRUCTION # 7

       During this recess, and every other recess, do not discuss this case among

yourselves or with anyone else, including your family and friends. Do not allow anyone

to discuss the case with you or within your hearing. “Do not discuss” also means do not

e-mail, send text messages, blog or engage in any other form of written, oral or electronic

communication, as I instructed you before.

       Do not read any newspaper or other written account, watch any televised account,

or listen to any radio program on the subject of this trial. Do not conduct any Internet

research or consult with any other sources about this case, the people involved in the

case, or its general subject matter. You must keep your mind open and free of outside

information. Only in this way will you be able to decide the case fairly based solely on

the evidence and my instructions on the law. If you decide the case on anything else, you

will have done an injustice. It is very important that you follow these instructions.

       I may not repeat these things to you before every recess, but keep them in mind

throughout the trial.




8th Cir. Civil Jury Instr. § 2.01 (2013)
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                                   INSTRUCTION #8

       Testimony will now be presented to you in the form of a deposition. A deposition

is the recorded answers a witness made under oath to questions asked by lawyers before

trial. The deposition testimony to be offered was electronically videotaped and that

recording now will be played for you. You should consider the deposition testimony, and

judge its credibility, as you would that of any witness who testifies here in person.




8th Cir. Civil Jury Instr. § 2.14 (2013)

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                                    INSTRUCTION # 9

       Members of the jury, the instructions I gave at the beginning of the trial and during

the trial are still in effect. Now I am going to give you some additional instructions.

       You have to follow all of my instructions – the ones I gave you earlier, as well as

those I give you now. Do not single out some instructions and ignore others, because

they are all important. This is true even though I am not going to repeat some of the

instructions I gave you at the beginning of the trial.

       You will have copies of all of the instructions in the jury room. Remember, you

have to follow all instructions, no matter when I give them, whether or not you have

written copies.




8th Cir. Civil Jury Instr. § 3.01 (2013)
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                                 INSTRUCTION # 10

      I have not intended to suggest what I think your verdict should be by any of my

rulings or comments during the trial.

      During this trial I have asked some questions of witnesses. Do not try to guess my

opinion about any issues in the case based on the questions I asked.




8th Cir. Civil Jury Instr. § 3.02 (2013)

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                                    INSTRUCTION # 11

          In deciding what the facts are, you may have to decide what testimony you believe

and what testimony you do not believe. You may believe all of what a witness said, or

only part of it, or none of it.

          You may consider the witness’s intelligence; the opportunity the witness had to

see or hear the things testified about; a witness’s memory, knowledge, education, and

experience; any reasons a witness might have for testifying a certain way, how the

witness acted while testifying, whether a witness said something different at another time,

whether a witness’s testimony sounded reasonable, and whether or to what extent a

witness’s testimony is consistent with other evidence you believe.

          In deciding whether to believe a witness, remember that people sometimes hear or

see things differently and sometimes forget things. You will have to decide whether a

contradiction is an innocent misrecollection, or lapse of memory, or an intentional

falsehood; that may depend on whether it has to do with an important fact or only a small

detail.




8th Cir. Civil Jury Instr. § 3.03 (2013)

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                                   INSTRUCTION # 12

       A witness may be discredited or impeached by contradictory evidence; or by

evidence that at some other time the witness has said or done something, or has failed to

say or do something which is consistent with the witness’s present testimony.

       If you believe any witness has been impeached and thus discredited, it is your

exclusive province to give the testimony of that witness such credibility, if any, as you

may think it deserves.

       If a witness is shown knowingly to have testified falsely concerning any material

matter, you have a right to distrust such witness’s testimony in other particulars and you

may reject all the testimony of that witness or give it such credibility as you may think it

deserves.

       An act or omission is “knowingly” done, if voluntarily and intentionally, and not

because of mistake or accident or other innocent reason.




Devitt, Blackmar & Wolff, Federal Jury Practice and Instructions, § 73.04

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                                    INSTRUCTION #13

         The burden is on the Plaintiff Debbie Griefenhagen, in a civil action such as this,

to prove every essential element of her claim by a preponderance of the evidence. If the

proof should fail to establish any essential element of Plaintiff’s claim by a

preponderance of the evidence in the case, you should find for Defendants as to that

claim.

         To “establish by a preponderance of the evidence” means to prove that something

is more likely so than not so. In other words, a preponderance of the evidence in the case

means such evidence as, when considered and compared with evidence opposed to it, has

more convincing force, and produces in your mind’s belief that what is sought to be

proved is more likely true than not true. This rule does not, of course, require proof to an

absolute certainty, since proof to an absolute certainty is seldom possible in any case.

         You have probably heard the phrase “proof beyond a reasonable doubt.” That is a

stricter standard than “more likely true than not true.” It applies in criminal cases, but not

in this civil case; so put it out of your mind.

         In determining whether any fact in issue has been proved by a preponderance of

the evidence in the case, you may, unless otherwise instructed, consider the testimony of

all witnesses, regardless of who may have called them, and all exhibits received in

evidence, regardless of who may have produced them. If, on any issue in the case, you

cannot decide whether a fact is more likely true than not true, you cannot find that it has

been proved.



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Federal Jury Practice and Instructions, § 72.01 (modified); see also 8th Cir. Civil
Jury Instr. § 3.04 (2013) (modified).




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                                   INSTRUCTION # 14

       There are rules you must follow when you go to the jury room to deliberate and

return with your verdict.

       First, you will select a foreperson. That person will preside over your discussions

and speak for you here in court.

       Second, it is your duty, as jurors, to discuss this case with one another in the jury

room. You should try to reach an agreement, if you can do so without going against what

you believe to be the truth, because all jurors have to agree on the verdict.

       Each of you must come to your own decision, but only after you have considered

all the evidence, discussed the evidence fully with your fellow jurors, and listened to the

views of your fellow jurors.

       Do not be afraid to change your mind if the discussion persuades you that you

should. But, do not come to a decision just because other jurors think it is right, or just to

reach a verdict. Remember you are not for or against any party. You are judges–judges

of the facts. Your only job is to study the evidence and decide what is true.

       Third, if you need to communicate with me during your deliberations, send me a

note signed by one or more of you. Give the note to the bailiff and I will answer you as

soon as I can, either in writing or here in court. While you are deliberating, do not tell

anyone – including me – how many jurors are voting for any side.

       Fourth, your verdict has to be based only on the evidence and on the law that I

have given to you in my instructions. Nothing I have said or done was meant to suggest

what I think your verdict should be. The verdict is entirely up to you.

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       Finally, the verdict form is your written decision in this case. [The form reads:

(read form)]. You will take this form to the jury room, and when you have all agreed on

the verdict, your foreperson will fill in the form, sign and date it, and tell the bailiff that

you are ready to return to the courtroom.




8th Cir. Civil Jury Instr. § 3.06 (2013)




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                                   INSTRUCTION #15

        Your verdict on the use of force claim must be for Debbie Griefenhagen and

against Mike Duzan if all of the following elements have been proved by the

preponderance of the evidence.

        Plaintiff Debbie J. Griefenhagen claims that Defendant Duzan used excessive

force against her on April 7, 2012. Your verdict must be for Plaintiff and against

Defendant Duzan for excessive use of force if all the following elements have been proved

by the preponderance of the evidence:

        First, Mike Duzan purposely pinched and twisted Debbie Griefenhagen’s arm

when she tried to move past him;

        First, Defendant Duzan grabbed Plaintiff in the act of stopping Plaintiff;

        Second, the use of force was excessive because it was not reasonably necessary

to control the scene and obtain Debbie Griefenhagen’s compliance with commands;

and

        Second, the use of such force was excessive because it was not reasonably

necessary to stop Plaintiff;

        Third, as a direct result, Debbie Griefenhagen was injured.

        Third, as a direct result, Plaintiff was harmed, and

        In determining whether the force, if any, was “excessive,” you must consider

such factors as the need for the application of force, the relationship between the need

and the amount of force that was used, the extent of the injury inflicted, and whether

a reasonable officer on the scene, without the benefit of 20/20 hindsight, would have

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used such force under similar circumstances. You must consider police officers are

often forced to make judgments about the amount of force that is necessary in

circumstances that are tense, uncertain and rapidly evolving. You must consider

whether Mike Duzan’s actions were reasonable in light of the facts and circumstances

confronting the officer, without regard to the officer’s own state of mind, intention or

motivation.

       In determining whether such force was “not reasonably necessary,” you must

consider such factors as the need for the application of force, the relationship between

the need and the amount of force that was used, the extent of the injury inflicted, and

whether a reasonable officer on the scene, without the benefit of 20/20 hindsight, would

have used such force under similar circumstances.

       The jury must consider that police officers are often forced to make judgments

about the amount of force that is necessary in circumstances that are tense, uncertain

and rapidly evolving. The jury must consider whether each officer's actions are

reasonable in the light of the facts and circumstances confronting the officer, without

regard to the officer's own state of mind, intention or motivation. If any of the above

elements has not been proved by the preponderance of the evidence, then your verdict

must be for defendants.




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      If any of the above elements has not been proven by the preponderance of the

evidence, then your verdict on the use of force claim must be for Mike Duzan.




Eighth Circuit Model Civil Jury Instruction No. 4.40 (2013) (modified); Graham v.
Connor, 490 U.S. 386, 395-96 (1989). Defendant stipulates to acting under color of
state law.

8TH CIR. CIVIL JURY INSTR.4.10 (2005)(m).


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                                    INSTRUCTION #16

       In addition to her federal constitutional claim, Debbie Griefenhagen brings

an assault claim under Minnesota law. Debbie Griefenhagen asserts that Mike

Duzan violated Minnesota law by committing assault against her by threatening

bodily harm to her. To prevail on her state-law assault claim, Debbie Griefenhagen

must prove the following three things:

   (1) Mike Duzan acted with the intent to cause apprehension or fear of immediate

       harm to Debbie Griefenhagen;

   (2) Mike Duzan had the apparent ability to cause the harm; and

   (3) Debbie Griefenhagen had a reasonable apprehension or fear that the

       immediate harm would occur.

       If Mike Duzan unlawfully used force on Debbie Griefenhagen, then your

verdict must be for Debbie Griefenhagen. If Mike Duzan lawfully used force on

Debbie Griefenhagen, then your verdict must be for Mike Duzan.

       Plaintiff Debbie J. Griefenhagen claims that Defendant Duzan committed an

assault against her. An assault is a wrongful threat, more than words alone, with the

present ability to carry such threat into effect and which causes a reasonable

apprehension of immediate harm or offensive contact. Mere words of threat alone do not

constitute an assault. The use of threatened force by a police officer is lawful if it is a

reasonable use of force when used in effecting an arrest. An officer may not subject the

person arrested to any more restraint than is necessary for the arrest and the detention.



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Minnesota Practice Jury Instruction Guide – Civil 60.20 (2008) (modified); Adewale
v. Whalen, 21 F.Supp.2d 1006, 1016; Johnson v. Peterson, 358 N.W.2d 484, 485
(Minn. Ct. App. 1984)

Minn. Practice, Jury Instructions Guide, 3d Ed., § 50; Johnson v. Morris, 453 N.W.2d 31,
41 (Minn. 1990).




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                                  INSTRUCTION #17

       In addition to her constitutional claim, Debbie Griefenhagen brings a battery

claim under Minnesota law. Debbie Griefenhagen asserts that Mike Duzan violated

Minnesota law by committing battery against her. A battery occurred if it is proved

that Mike Duzan intentionally caused harmful or offensive contact with Debbie

Griefenhagen.

       If Mike Duzan unlawfully used force on Debbie Griefenhagen, then your

verdict must be for Debbie Griefenhagen. If Mike Duzan lawfully used force on

Debbie Griefenhagen, then your verdict must be for Mike Duzan.

Civil Battery—Definition

Plaintiff Debbie J. Griefenhagen claims that Defendant Duzan committed a battery

against her. A battery is an intentional and unpermitted contact by defendant upon the

person of the plaintiff or upon anything worn or held by the plaintiff. If the defendant did

not intend to make contact with plaintiff, but did intend to make an unpermitted contact

with another person or thing and as a result made a contact with plaintiff, that contact is

a battery. Because an officer may come into contact with an individual for certain

purposes, the use of force by an officer must be unreasonable to constitute a battery.




Minnesota Practice Jury Instruction Guide – Civil 60.25 (2008) (modified); Adewale
v. Whalen, 21 F.Supp.2d 1006, 1016; Johnson v. Peterson, 358 N.W.2d 484, 485
(Minn. Ct. App. 1984)

Minn. Practice, Jury Instructions Guide, 3d Ed. § 503.


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                                  INSTRUCTION #18

Intent—Definition

Both assault and battery require a finding of intent. “Intent” or “intentionally” means that

a person:

       1. Wants to cause the consequences of his or her acts, or

       2. Knows that his or her acts are substantially certain to cause those consequences.




4A MNPRAC CIV JIG 60.10 (4th Ed.)



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                                   INSTRUCTION # 19

       If you find in favor of Plaintiff Debbie Griefenhagen, you must award her an

amount of money that will fairly compensate her for any damages she sustained and is

reasonably certain to sustain in the future as a direct result of the conduct of defendant.

You should consider the following elements of damages:

       1.     The physical pain and mental suffering Debbie Griefenhagen has

              experienced and is reasonably certain to experience in the future; the nature

              and extent of the injury, whether the injury is temporary or permanent and

              whether any resulting disability is partial or total and any aggravation of a

              pre-existing condition;

       2.     The reasonable value of the medical care and supplies reasonably needed

              by and actually provided to Debbie Griefenhagen and reasonably certain to

              be needed and provided in the future.

       Remember, throughout your deliberations you must not engage in any

speculations, guess, or conjecture and you must not award any damages under this

Instruction by way of punishment or through sympathy.




8th Cir. Civil Jury Instr. § 4.70 (2013) (Modified)


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                                 INSTRUCTION # 20

      If you find in favor of Debbie Griefenhagen under Instruction __, but you find that

her damages have no monetary value, then you must return a verdict for Debbie

Griefenhagen in the nominal amount of One Dollar ($1.00).




8th Cir. Civil Jury Instr. § 4.71 (2013)

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                                     INSTRUCTION #21

*Defendant objects to a punitive damages instruction but if one is used, the parties
agree on this instruction.

         In addition to the damages mentioned in other instructions, the law permits the

jury under certain circumstances to award punitive damages.

         If you find in favor of the plaintiff under Instruction __ and if it has been proved

that the conduct of that defendant was malicious or recklessly indifferent to the plaintiff's

constitutional right to be free from excessive force, then you may, but are not required to,

award the plaintiff an additional amount of money as punitive damages for the purposes

of punishing the defendant for engaging in misconduct and deterring the defendant and

others from engaging in similar misconduct in the future. You should presume that

plaintiff has been made whole for her injuries by the damages awarded under Instruction

_____.

         If you decide to award punitive damages, you should consider the following in

deciding the amount of punitive damages to award:

         1. How reprehensible the defendant’s conduct was. In this regard, you may

consider whether the harm suffered by the plaintiff was physical or economic or both;

whether there was violence, deceit, intentional malice, reckless disregard for human

health or safety; whether the defendant’s conduct that harmed the plaintiff also posed a

risk of harm to others; whether there was any repetition of the wrongful conduct and past

conduct of the sort that harmed the plaintiff.




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       2. How much harm the defendant’s wrongful conduct caused the plaintiff and

could cause the plaintiff in the future.

       3. The amount of any punitive damages award should bear a reasonable

relationship to the harm caused to the plaintiff.




8th Cir. Civ. Jury Instr. 4.72 (2013) (modified)



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